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UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA

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CHAPTER 13 PLAN (Individual Adjustment of Debts)

 

 

 

 

 

 

| Original Plan
| Amended Plan (Indicate Ist, 2nd, etc. Amended, if applicable)
[m] 5th Modified Plan (Indicate Ist, 2nd, etc. Modified, if applicable)
DEBTOR: ZELPHA S. McKAIN JOINT DEBTOR: CASE NO.: 16-11799 JKO
SS#: xxx-xx- 6832 SS#: xxx-xx-
I. NOTICES
To Debtors: Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans

and modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to
Local Rules 2002-1 (C)(5), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of
filing the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.

To Creditors: Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
be reduced, modified or eliminated.

To All Parties: The plan contains no nonstandard provisions other than those set out in paragraph VIII. Debtor(s) must check one
box on each line listed below in this section to state whether the plan includes any of the following:

 

The valuation of a secured claim, set out in Section III, which may result in a
partial payment or no payment at all to the secured creditor

Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set
out in Section III

Nonstandard provisions, set out in Section VIII [m] Included [| Not included
IL. PLAN PAYMENTS, LENGTH OF PLAN AND DEBTOR(S)' ATTORNEY'S FEE

[_] Included [m] Not included

 

[_] Included [m] Not included

 

 

 

 

 

A. MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
amount will be paid to unsecured nonpriority creditors pro-rata under the plan:

 

1. $2,559.44 formonths 1 to 44 ;
2. $2,473.24 formonths 45 to _55_;
3. $770.00 for months 56 to _56_;
B. DEBTOR(S)' ATTORNEY'S FEE: [] NONE [_] PROBONO
Total Fees: $4500.00 Total Paid: $1500.00 Balance Due: $3000.00
Payable $56.82 /month (Months 1 to 44 )
Payable $250.00 /month (Months 45 to 46 )

Allowed fees under LR 2016-1(B)(2) are itemized below:
3,500 safe harbor and 500 for motion to modify plan 500 for second motion to modify plan

 

 

Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.
Il. TREATMENT OF SECURED CLAIMS

A. SECURED CLAIMS: [|] NONE

[Retain Liens pursuant to 11 U.S.C. §1325 (a)(5)] Mortgage(s)/Lien on Real or Personal Property:
1. Creditor: Us, ROF IIT LEGAL TITLE TRUST

 

 

 

Address: POB 3187 Arrearage/ Payoff on Petition Date $26,619.13
Carol Stream IL 60132 Asrears Payment (Cure) $494.38 /month(Months 1 to 44 )
Regular Payment (Maintain) $1,275.00 /month(Months 1 to 44 )

 

 

 

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Debtor(s): ZELPHA S. McKA Case number: 16-11799 JKO
Last 4 Digits of Arrears Payment (Cure) $237.88 /month (Months 45 to 46 )
Account No.: 0515 Arrears Payment (Cure) $487.88 /month (Months 47 to _55_)
Regular Payment (Maintain) $1,219.91 /month (Months 45 to _55_)
Other:
[m] Real Property Check one below for Real Property:
[m|Principal Residence [m|Escrow is included in the regular payments
[_ Other Real Property [_|The debtor(s) will pay [mjtaxes [mJinsurance directly
Address of Collateral:
17987 SW 14 St Pembroke Pines FL 33313
[_] Personal Property/Vehicle
Description of Collateral:
2. Creditor: AMERICAN UNVESTMENT SVCS LLP
Address: C/O Cudlip&Cudlipp PA Arrearage/ Payoff on Petition Date $33,376.35
oe ° 5 Biscayne Blvd Payoff (Including 4.5% monthly interest) $623.41 /month (Months 1 to 44 )
Miami FL 33181 Payoff (Including 4.5% monthly interest) $540.61 /month (Months 45 to 55 _)
Last 4 Digits of
Account No.: 9666
Other:
[m] Real Property Check one below for Real Property:
[m|Principal Residence [m|Escrow is included in the regular payments
[_ Other Real Property [_|The debtor(s) will pay [_|taxes [_Jinsurance directly
Address of Collateral:
17987 SW14 St Pembroke Pines FL 33313
[_] Personal Property/Vehicle
Description of Collateral:

 

 

 

B.

Cc.
D.

VALUATION OF COLLATERAL: [mt] NONE

LIEN AVOIDANCE [i] NONE

SURRENDER OF COLLATERAL: Secured claims filed by any creditor granted stay relief in this section shall not receive a
distribution fom the Chapter 13 Trustee.

[§] NONE

DIRECT PAYMENTS: Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution
fom the Chapter 13 Trustee.

[_] NONE

[m] The debtor(s) elect to make payments directly to each secured creditor listed below. The debtor(s) request that upon
confirmation of this plan the automatic stay be terminated in rem as to the debtor(s) and in rem and in personam as to any
codebtor(s) as to these creditors. Nothing herein is intended to terminate or abrogate the debtor(s)' state law contract rights.

Name of Creditor Last 4 Digits of Account No. Description of Collateral (Address, Vehicle, etc.)
Santander Consumer USA vehicle

 

IV. | TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in 11 U.S.C. §507 and 11 U.S.C. § 1322(a)(4)]

A.

ADMINISTRATIVE FEES OTHER THAN DEBTORS(S)' ATTORNEY'S FEE: [lm] NONE

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Debtor(s): ZELPHA 8. McKAIN Case number: 16-11799 JKO

 

B. INTERNAL REVENUE SERVICE: [m] NONE
C. DOMESTIC SUPPORT OBLIGATION(S): [mi] NONE
D. OTHER: [mg] NONE
V. TREATMENT OF UNSECURED NONPRIORITY CREDITORS
A. Pay $700.00 /month (Months 56 to 56 )
Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.
B. [_] If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.

C. SEPARATELY CLASSIFIED: [mi] NONE

*Debtor(s) certify the separate classification(s) of the claim(s) listed above will not prejudice other unsecured nonpriority
creditors pursuant to 11 U.S.C. § 1322.

VI. EXECUTORY CONTRACTS AND UNEXPIRED LEASES: Secured claims filed by any creditor/lessor granted stay relief in this
section shall not receive a distribution from the Chapter 13 Trustee.

[™] NONE
VII. | INCOME TAX RETURNS AND REFUNDS: [lm] NONE

VIII. NON-STANDARD PLAN PROVISIONS [|] NONE
[| Nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in the Local
Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are void.

Debtor will begin paying the creditors U.S. ROF II] LEGAL TITLE TRUST direct and not through the plan starting month 56.

 

[-] Mortgage Modification Mediation

PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.

 

 

 

Zelpha McKain Debtor November 25 2019 Joint Debtor
ZELPHA S. McKAIN Date Date
JARED KULLMAN 11/25/2019

Attorney with permission to sign on Date

Debtor(s)’ behalf

By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
contains no nonstandard provisions other than those set out in paragraph VIII.

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